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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

BEDIVERE INSURANCE COMPANY
F/D/B/A ONEBEACON INSURANCE
COMPANY,                                   CONSOLIDATED CASES

Plaintiff/Counter-Defendant,               Case No. 2:18-cv-02371-DDC-JPO

v.

BLUE CROSS AND BLUE SHIELD OF
KANSAS, INC.;

Defendant/Counter-Plaintiff

v.

ALLIED WORLD SURPLUS LINES
INSURANCE COMPANY F/K/A DARWIN
SELECT INSURANCE COMPANY; BLUE
CROSS BLUE SHIELD ASSOCIATION,

Defendants.

_____________________________________

ALLIED WORLD SPECIALTY
INSURANCE COMPANY F/K/A DARWIN
NATIONAL ASSURANCE COMPANY,

Plaintiff/Counter-Defendant

v.

BLUE CROSS AND BLUE SHIELD OF              Case No. 2:18-cv-02515-DDC-JPO
KANSAS, INC.,

Defendant/Counter-Plaintiff.




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ORDER GRANTING JOINT AGREED MOTION TO STAY CERTAIN CLAIMS

       Now on this 19th day of January, 2021, good cause having been shown, the Joint

Agreed Motion to Stay Certain Claims (ECF No. 150) is hereby granted, and the Court

enters an order staying the claims in Counts X and XI in OneBeacon’s Amended Complaint

(ECF No. 55) and paragraph 45(e) in Allied World’s Complaint (ECF No. 1, Case No.

2:18-cv-2515) regarding OneBeacon’s and Allied World’s respective alleged duties to

indemnify BCBSKS for a judgment or settlement in the Antitrust Litigation, including, but

not limited to, all written and oral discovery on these claims, until complete and final

resolution of the Antitrust Litigation in its entirety through either judgment or settlement.

       The parties are ordered to file a status report about the Antitrust Litigation within

14 days of resolution of the Antitrust Litigation or by July 1, 2021, whichever is sooner.



                                                                 s/ James P. O=Hara
                                                                James P. O=Hara
                                                                U.S. Magistrate Judge




Agreed and approved by:

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